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       In the United States Court of Federal Claims
                                       No. 16-840C
                                 (Filed: March 25, 2019)


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                                    *
BITMANAGEMENT SOFTWARE              *
GMBH,                               *
                                    *
                  Plaintiff,        *
                                    *
            v.                      *
                                    *
THE UNITED STATES,                  *
                                    *
                  Defendant.        *
                                    *
*************************************

                                         ORDER

       The parties filed their respective objections to witnesses and exhibits on March
13, 2019 and the Court received the final witness lists and exhibits list on March 20, 2019
and March 21, 2019. The Court entered its orders on the Motions in Limine on March 22,
2019 and March 25, 2019.

        With regard to Defendant’s Objections to Plaintiff’s Proposed Witnesses and
Exhibits filed on March 13, 2019, on March 14, 2019, Plaintiff withdrew Mr. Mark
Pfarrer as a witness as well as the proposed exhibit relating to him. However, the Court
allowed Plaintiff to call Mr. Pharrer as an impeachment witness at trial, if necessary.
Furthermore, in light of the Court Order dated March 25, 2019, Defendant’s objections to
Mr. Graff as advanced in its Objections to Plaintiff’s Proposed Witness and Exhibits are
now moot.

       Therefore, the parties are DIRECTED to file their responses to the objections to
the proposed exhibit lists that were filed on March 13, 2019, no later than Thursday,
March 28, 2019. Replies, if necessary, may be filed no later than Monday, April 1,
2019.

        As previously ordered by Court order dated March 14, 2019, Defendant’s
supplemental final exhibit list regarding the rebuttal documents remains to be filed no
later than April 4, 2019.

       IT IS SO ORDERED.
                                                            s/ Edward J. Damich
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                                          EDWARD J. DAMICH
                                          Senior Judge
